                           Case 3:23-cv-06522-MMC Document 75-11 Filed 01/26/24 Page 1 of 2


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                                                    UNITED STATES DISTRICT COURT
                   11                             NORTHERN DISTRICT OF CALIFORNIA
                                                       SAN FRANCISCO DIVISION
                   12
                                                                          Case No. 3:23-cv-06522-MMC
                   13      UMG RECORDINGS, INC., CAPITOL
                           RECORDS, LLC, CONCORD BICYCLE                  [PROPOSED] ORDER GRANTING
                   14      ASSETS, LLC, CMGI RECORDED MUSIC               DEFENDANTS INTERNET ARCHIVE,
                           ASSETS LLC, SONY MUSIC                         KAHLE, BLOOD, AND GEORGE BLOOD
                   15      ENTERTAINMENT, and ARISTA MUSIC,               L.P.’S MOTION TO DISMISS
                   16                                                     Date:    March 22, 2024
                                 Plaintiffs,                              Time:    9:00 a.m.
                   17                                                     Place:   Courtroom 7, 19th Floor
                                                                          Judge:   Hon. Maxine M. Chesney
                   18      v.
                   19
                           INTERNET ARCHIVE, BREWSTER
                   20      KAHLE, KAHLE/AUSTIN FOUNDATION,
                           GEORGE BLOOD, and GEORGE BLOOD
                   21      L.P.,
                   22            Defendants.
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                                                                                              CASE NO. 3:23-cv-06522-MMC
ATTOR NEY S A T LA W
 SAN FRANCISCO
                                                                                           [PROPOSED] ORDER GRANTING
                                                                                                    MOTION TO DISMISS
                           Case 3:23-cv-06522-MMC Document 75-11 Filed 01/26/24 Page 2 of 2


                       1                                       [PROPOSED] ORDER

                       2            This matter is before the Court on Defendants Internet Archive, Brewster Kahle, George

                       3   Blood, and George Blood L.P.’s motion to dismiss the complaint pursuant to Federal Rule of Civil

                       4   Procedure 12(b)(6). After consideration of the briefs and arguments of counsel and all other

                       5   matters presented, the Court concludes that the motion to dismiss should be granted.

                       6            Accordingly, IT IS ORDERED THAT the motion to dismiss is GRANTED, and all claims

                       7   premised on alleged acts of infringement that pre-date August 11, 2020, are DISMISSED with

                       8   prejudice.

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                   10      Dated:                                      By:
                                                                             HON. MAXINE M. CHESNEY
                   11                                                        UNITED STATES DISTRICT JUDGE
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                                                                                                  CASE NO. 3:23-cv-06522-MMC
ATTOR NEY S A T LA W
 SAN FRANCISCO                                                               1                 [PROPOSED] ORDER GRANTING
                                                                                                        MOTION TO DISMISS
